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 6   SATA GmbH & Co. KG

 7                              UNITED STATES DISTRICT COURT

 8                                        DISTRICT OF NEVADA

 9                                          )
     SECURITY ALARM FINANCING               )
10   ENTERPRISES, L.P. d/b/a SAFEGUARD      )
     SECURITY a Limited Partnership,        )
11                                          ) CASE NO.: 2:16-cv-00592-JCM-VCF
               Plaintiff;                   )
                                            )
12
     vs.                                    ) FINAL JUDGMENT IN A CIVIL ACTION
                                            ) AND PERMANENT INJUNCTION
13   MIKAYLA NEBEL, an individual, RUSSELL )
     NIGGEMEYER, an individual, and DOES 1- )
14   25,                                    )
                                            )
15              Defendant.                  )
                                            )
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            This action came before the Court, Honorable James C. Mahan, United States District
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     Judge presiding, on Plaintiff SECURITY ALARM FINANCING ENTERPRISES, L.P. d/b/a
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     SAFEGUARD SECURITY’s (“SAFE”) Motion for Default Judgment and Permanent Injunction.
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     The motion was fully briefed and considered by the Court. A decision having been duly
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     rendered,
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that SAFE be awarded the
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     following Judgment:
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            1.     Statutory damages in the amount of $30,000.00 (ECF No. 125);
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            2.     Attorneys’ fees in the amount of $49,073.60 (ECF No. 128);
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            3.     Costs in the amount of $426.87 (ECF No. 125);
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            4.     Post-judgment interest on the principal sum at the judgment rate from the date of
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                   entry of the Judgment until paid in full (ECF No. 125).
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                               Final Judgment in a Civil Action and Permanent Injunction
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 2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that PERMANENT

 3   INJUNCTION IS GRANTED as follows:

 4                 “Niggemeyer, and his agents, servants, employees, confederates, attorneys, and

 5                 any persons acting in concert or participa, tion having knowledge of this Order by

 6                 service or actual notice . . . are hereby permanently enjoined and restrained from

 7                 using any reproduction, counterfeit, copy, or colorable imitation of the SAFE

 8                 Marks in commerce including, without limitation: [] by selling, offering for sale,

 9                 distributing, promoting, or advertising any good or service in connection with

10                 such reproduction, counterfeit, copy, or colorable imitation of the SAFE Marks.”

11                 (ECF No. 124 at 4-5)

12                February
            DATED this       8,of
                       ___ day  2018.
                                  February, 2018.

13
                                                               ____________________________________
14                                                             UNITED STATES DISTRICT JUDGE
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     RENO 75530-1 27097v1
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                                                         2
                              Final Judgment in a Civil Action and Permanent Injunction
